                       CASE 0:22-cr-00089-WMW-TNL Doc. 13 Filed 05/03/22 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     LEON KISMIT BELL,(1)                     Criminal No. 22-mj-00349 (JFD)
                             Defendant,
                       APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: LEON KISMIT BELL
Detained at (custodian): HENNEPIN COUNTY JAIL

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Complaint
                        Charging Detainee With: Carjacking
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on May 4, 2022, at 2:30 p.m. in the courtroom of The Honorable John F. Docherty.

Dated: May 3, 2022                                                                  /s Harry M. Jacobs
                                                                                    HARRY M. JACOBS, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

 May 3, 2022
____________________________________                                                         ______________________________________
                                                                                              s/John F. Docherty
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                2022006654                                                  DOB:              xx/xx/1973
     Facility Address:                     401 South Fourth Avenue, Suite 100                          Race:
                                           Minneapolis, MN 55415                                       FBI #:
     Facility Phone:                       612-348-5112
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)




                                                                                                                                                           Writ issued 5/3/2022
